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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                                HARRISON DIVISION


UNITED STATES OF AMERICA                                                     PLAINTIFF

V.                              CASE NO. 3:24-CR-30003

BRANDON NIEL TAYLOR                                                        DEFENDANT


                                              ORDER

       Currently before the Court is the Report and Recommendation (Doc. 12) filed in

this case on March 27, 2024, by the Honorable Christy Comstock, United States

Magistrate Judge for the Western District of Arkansas. Both parties have waived the right

to object to the Report and Recommendation for the purpose of expediting acceptance of

the guilty plea in this matter. Id. at ¶ 6.

       The Court has reviewed this case and, being well and sufficiently advised, finds

that the Report and Recommendation is proper and should be—and hereby is—

ADOPTED IN ITS ENTIRETY. Accordingly, Defendant’s waiver of indictment and guilty

plea is accepted. The written plea agreement will be subject to final approval by the

undersigned at sentencing.

       IT IS SO ORDERED on this 27th day of March, 2024.

                                                  _/s/ Timothy L. Brooks______________
                                                  TIMOTHY L. BROOKS
                                                  UNITED STATES DISTRICT JUDGE
